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 7
                               UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9
                                     WESTERN DIVISION
10
11
     Nisan Harrill,                                 Case No.: 2:17-cv-00719-R-JEM
12
                       Plaintiff,                   ORDER
13
            vs.
14
   Optio Solutions, LLC d/b/a Qualia
15 Collection ServiceS,
16                     Defendant.
17
18
            Based on the Stipulation of counsel, the case is dismissed with prejudice, each
19
     party to bear its own attorneys’ fees and costs.
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     Date: June 27, 2017
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                                                    Hon. Judge Manuel L. Real
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     2:17-cv-00719-R-JEM                      -1-                                      ORDER
